Case 2:19-cv-04618-RGK-JPR Document 40 Filed 05/04/20 Page 1 of 26 Page ID #:2274




    1 KENNETH B. WILSON (SBN 130009)
      ken@coastsidelegal.com
    2 COASTSIDE LEGAL
      455 1st Avenue
    3 Half Moon Bay, California 94019
    4 Telephone: (650) 440-4211
    5 JOSHUA M. MASUR (SBN 203510)
      jmasur@zuberlawler.com
    6 ZUBER LAWLER & DEL DUCA LLP
    7 2000 Broadway Street, Office 154
      Redwood City, California 94063
    8 Telephone: (650) 866-5901
      Facsimile: (213) 596-5621
    9
      ZACHARY S. DAVIDSON (SBN 287041)
   10 zdavidson@zuberlawler.com
   11 ZUBER LAWLER & nd     DEL DUCA LLP
      350 S. Grand Ave., 32 Fl.
   12 Los Angeles, California 90071
      Telephone: (213) 596-5620
   13 Facsimile: (213) 596-5621
   14 Attorneys for Defendant
      REDBUBBLE INC.
   15
   16                     UNITED STATES DISTRICT COURT
   17        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   18
   19 Y.Y.G.M. SA d.b.a. BRANDY                  Case No. 2:19-cv-04618-RGK-FFM
      MELVILLE, a Swiss corporation,
   20                                            DEFENDANT REDBUBBLE INC.’S
                         Plaintiff,              NOTICE OF MOTION AND
   21                                            MOTION FOR SUMMARY
           v.
   22                                            JUDGMENT; MEMORANDUM OF
      REDBUBBLE INC.,                            POINTS AND AUTHORITIES
   23
                         Defendant.
   24                                            [Filed concurrently with Statement of
                                                 Uncontroverted Facts and Conclusions
   25                                            of Law, supporting Declarations, and
                                                 [Proposed] Judgment]
   26
   27                                            Hearing Date: June 1, 2020
                                                 Time:         9:00 a.m.
   28                                            Courtroom:    850

                                             1
Case 2:19-cv-04618-RGK-JPR Document 40 Filed 05/04/20 Page 2 of 26 Page ID #:2275




    1 TO PLAINTIFF AND ITS COUNSEL OF RECORD:
    2         PLEASE TAKE NOTICE THAT on June 1, 2020, at 9:00 a.m., or as soon
    3 thereafter as counsel may be heard, in the courtroom of the Honorable R. Gary
    4 Klausner, located in the Roybal Federal Building and U.S. Courthouse, 255 East
    5 Temple Street, Los Angeles, CA 90012, Courtroom 850, 8th Floor, defendant
    6 Redbubble Inc. (“Redbubble”) will and hereby does move this Court for entry of
    7 Summary Judgment on plaintiff Y.Y.G.M. SA dba Brandy Melville (“Brandy
    8 Melville’s”) Complaint, on issues of counterfeiting and willful infringement, or for
    9 an Order granting partial summary adjudication on each claim in Brandy Melville’s
   10 Complaint and on its prayer for statutory damages. The Motion is made on the
   11 grounds that there is no genuine issue of any material fact and that Redbubble is
   12 entitled to judgment on Brandy Melville’s Complaint and each claim therein, as well
   13 as on its prayer for statutory damages, as a matter of law. This Motion is based on
   14 this Notice of Motion, the attached Memorandum of Points and Authorities, the
   15 supporting Declarations of Anuj Luthra (“Luthra Decl.”), Arnaud Deshais (“Deshais
   16 Decl.”), James Toy (“Toy Decl.”), Kate Rickert (“Rickert Decl.”), and Joshua M.
   17 Masur (“Masur Decl.”) filed concurrently herewith, all of the pleadings, files, and
   18 records in this proceeding, all other matters of which the Court may take judicial
   19 notice, and any argument or evidence that may be presented to or considered by the
   20 Court prior to its ruling.
   21         This motion is made following the conference of counsel pursuant to L.R.7-3
   22 which took place on April 27, 2020.
   23 Dated: May 4, 2020                     COASTSIDE LEGAL
   24                                        KENNETH B. WILSON

   25                                        ZUBER LAWLER & DEL DUCA LLP
                                             JOSHUA M. MASUR
   26                                        ZACHARY S. DAVIDSON
   27                                        By: /s/ Joshua M. Masur
   28                                        Attorneys for Defendant
                                             REDBUBBLE INC.
                                                 2
Case 2:19-cv-04618-RGK-JPR Document 40 Filed 05/04/20 Page 3 of 26 Page ID #:2276



                                              TABLE OF CONTENTS
    1                                                                                                                       Page
    2 MEMORANDUM OF POINTS AND AUTHORITIES............................................. 1
    3 I.     INTRODUCTION ............................................................................................. 1
    4 II.    STATEMENT OF FACTS................................................................................ 1
    5        A.       Background of Defendant Redbubble..................................................... 1
    6        B.       Redbubble Does Not Design or Upload Content Sold on the
                      Marketplace ............................................................................................. 2
    7
             C.       Redbubble Did Not Sell or Offer to Sell the Accused Products ............. 3
    8
             D.       Redbubble Does Not Print, Package, Manufacture or Ship
    9                 Products ................................................................................................... 4
   10        E.       Redbubble’s Substantial Efforts to Combat Piracy ................................ 5
   11        F.       Background of This Dispute ................................................................... 7
   12 III.   ARGUMENT .................................................................................................... 9
   13        A.       Redbubble Has No Liability to Brandy Melville .................................... 9
   14                 1.       Direct Trademark Infringement .................................................. 10
   15                 2.       Contributory Trademark Infringement ....................................... 13
   16                 3.       Vicarious Trademark Infringement Claims ................................ 15
   17                 4.       Common Law Unfair Competition ............................................. 16
   18        B.       Because Brandy Melville Cannot Establish that Redbubble Used
                      a Counterfeit Mark, It Cannot Recover the Enhanced Statutory
   19                 Remedies for Trademark Counterfeiting .............................................. 16
   20 IV.    CONCLUSION ............................................................................................... 20
   21
   22
   23
   24
   25
   26
   27
   28

                                                                  i
Case 2:19-cv-04618-RGK-JPR Document 40 Filed 05/04/20 Page 4 of 26 Page ID #:2277



                                              TABLE OF AUTHORITIES
    1
                                                                                                                       Page
    2
    3 CASES
    4 Academy of Motion Picture Arts & Sciences v. GoDaddy, Inc.,
            2015 WL 5311085 (C.D. Cal. 2015) .............................................................. 14
    5
      Arcona, Inc. v. Farmacy Beauty, LLC,
    6      No. 2:17-cv-07058-ODW, 2019 WL 1260625
           (C.D. Cal., Mar. 19, 2019)............................................................................... 18
    7
      Brookfield Comms., Inc., v. West Coast Enter. Corp.,
    8      174 F.3d 1036 (9th Cir. 1999) .......................................................................... 10
    9 Clearline Technologies Ltd. v. Cooper B-Line, Inc.,
            871 F. Supp. 2d 607 (S.D. Tex. 2012) ............................................................ 15
   10
      Corbis Corp. v. Amazon.com, Inc.,
   11       351 F. Supp. 2d 1090 (W.D. Wash. 2004) ...................................................... 16
   12 Evergreen Safety Council v. RSA Network, Inc.,
           697 F.3d 1221 (9th Cir. 2012) ................................................................... 19, 20
   13
      Fonovisa, Inc. v. Cherry Auction, Inc.,
   14      76 F.3d 259 (9th Cir. 1996) ....................................................................... 10, 11
   15 GMA Accessories, Inc. v. BOP, LLC,
            765 F. Supp. 2d 457 (S.D.N.Y. 2011) ............................................................. 13
   16
      Gucci Am., Inc. v. Guess?, Inc.,
   17       868 F. Supp. 2d 207 (S.D.N.Y. 2012) ............................................................. 17
   18 Idaho Potato Comm’n v. G&T Terminal Pack, Inc.,
             425 F.3d 708 (9th Cir. 2005) ...................................................................... 17, 18
   19
      Int'l Olympic Comm. v. San Francisco Arts & Athletics,
   20        781 F.2d 733 (9th Cir. 1986) ........................................................................... 19
   21 Inwood Laboratories, Inc. v. Ives Laboratories, Inc.,
           456 U.S. 844 (1982) ........................................................................................ 13
   22
      Kaloud, Inc. v. Shisha Land Wholesale, Inc.,
   23      No. 15-3706-RGK, 2016 WL 7444600
           (C.D. Cal. July 11, 2016), aff’d, 741 F. App’x 393
   24       (9th Cir. 2018) ................................................................................................ 17
   25 Ketab Corp. v. Mesriani Law Group,
            2015 WL 2084469 (C.D. Cal. May 5, 2015) .................................................. 17
   26
      Lockheed Martin Corp. v. Network Solutions, Inc.,
   27       194 F.3d 980 (9th Cir. 1999) ..................................................................... 13, 14
   28 Lorillard Tobacco Co. v. Amouri’s Grand Foods, Inc.,
             453 F.3d 377 (6th Cir. 2006) ........................................................................... 10
                                                    ii
Case 2:19-cv-04618-RGK-JPR Document 40 Filed 05/04/20 Page 5 of 26 Page ID #:2278



         LTTB, LLC v. Redbubble Inc.,
    1         385 F. Supp. 3d 916 (N.D. Cal. 2019) ............................................................ 20
    2 Milo & Gabby, LLC v. Amazon.com, Inc.,
            2015 WL 4394673 (W.D. Wash. July 16, 2015)
    3       aff’d 693 F. App’x 879 (Fed. Cir. 2017) ................................................... 12, 13
    4 Perfect 10, Inc. v. CCBill LLC,
            488 F.3d 1102 (9th Cir. 2007) ......................................................................... 16
    5
      Perfect 10, Inc. v. Giganews, Inc.,
    6       847 F. 3d 657 (9th Cir. 2017) .......................................................................... 11
    7 Perfect 10, Inc. v. VISA International Service Ass’n,
            494 F.3d 788 (9th Cir. 2007) ........................................................................... 15
    8
      Rosetta Stone Ltd. v. Google, Inc.,
    9       730 F.Supp.2d 531 (E.D. Va. 2010) ................................................................ 15
   10 Spy Phone Labs LLC v. Google Inc.,
            2016 WL 6025469 (N.D. Cal. 2016)............................................................... 14
   11
      The Ohio State University v. Redbubble Inc.,
   12       369 F. Supp. 3d 840 (S.D. Ohio 2019)........................................... 1, 12, 13, 20
   13 Tiffany Inc. v. eBay, Inc.,
            600 F.3d 93 (2nd Cir. 2010) .......................................................... 10, 12, 13, 14
   14
      Tre Milano, LLC v. Amazon.com, Inc.,
   15       No. B234753, 2012 WL 3594380 (Cal. App. 2012) ....................................... 13
   16 United Pac. Ins. Co. v. Idaho First Nat. Bank,
            378 F.2d 62 (9th Cir. 1967) ............................................................................. 17
   17
      VHT, Inc. v. Zillow Group, Inc.,
   18       918 F.3d 723 (9th Cir. 2019) ..................................................................... 11, 19
   19
         STATUTES
   20
         15 U.S.C. § 1114(1) ................................................................................................... 10
   21
         15 U.S.C. § 1116(d)(1)(B)(i) ..................................................................................... 17
   22
         15 U.S.C. § 1117(c)(2) .............................................................................................. 20
   23
         15 U.S.C. § 1127........................................................................................................ 10
   24
         Communications Decency Act
   25        47 U.S.C. § 230(c)(1) ...................................................................................... 16
   26 Digital Millennium Copyright Act
            17 U.S.C. § 512 ................................................................................................. 6
   27
   28

                                                                     iii
Case 2:19-cv-04618-RGK-JPR Document 40 Filed 05/04/20 Page 6 of 26 Page ID #:2279



        OTHER AUTHORITIES
    1
        4 J. Thomas McCarthy,
    2          McCarthy on Trademarks & Unfair Competition § 25:15.10
               (5th ed. 2019).................................................................................................. 18
    3
    4
    5
    6
    7
    8
    9
   10
   11
   12
   13
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28

                                                                   iv
Case 2:19-cv-04618-RGK-JPR Document 40 Filed 05/04/20 Page 7 of 26 Page ID #:2280




    1                MEMORANDUM OF POINTS AND AUTHORITIES
    2 I.      INTRODUCTION
    3         As a matter of law, Redbubble is not liable for trademark infringement or
    4 counterfeiting based on the conduct of independent third-party sellers who upload
    5 and sell allegedly infringing products through Redbubble’s online marketplace
    6 (“Accused Products”), without Redbubble’s knowledge or direct involvement.
    7         At least one court has already held that Redbubble cannot be liable for direct
    8 trademark infringement, because Redbubble does not make or sell Accused Products
    9 or otherwise use the marks in question. See The Ohio State University v. Redbubble
   10 Inc., 369 F. Supp. 3d 840 (S.D. Ohio 2019) (granting summary judgment on direct
   11 trademark infringement and unfair competition). Redbubble cannot be liable for
   12 contributory trademark infringement because it has uniformly removed allegedly
   13 infringing listings promptly upon receiving notice of alleged infringement.
   14 Redbubble cannot be liable for vicarious infringement because it lacks the requisite
   15 relationship with participants in the Redbubble Marketplace. And Redbubble cannot
   16 be liable for counterfeiting or willful trademark infringement for the third-party sale
   17 of Accused Products, given that 1) Redbubble never handles or even sees the
   18 products; 2) the third-party sellers have represented that they own all rights to sell
   19 the designs on the products; and 3) none of the Accused Products are copies of
   20 products on which Brandy Melville uses its registered trademarks.
   21         As there are no disputed material facts pertaining to any of these issues.
   22 Redbubble is entitled to entry of summary judgment on plaintiff’s Complaint.
   23 II.     STATEMENT OF FACTS
   24         A.    Background of Defendant Redbubble
   25         Like the Amazon Marketplace and eBay, Redbubble is a global online
   26 marketplace platform, hosted at redbubble.com (the “Redbubble Marketplace”).
   27 [Toy Decl. Exh. A] Founded in 2006, and publicly traded on the Australian
   28 Securities Exchange since May 2016, Redbubble was formed with the goal to

                                                  1
Case 2:19-cv-04618-RGK-JPR Document 40 Filed 05/04/20 Page 8 of 26 Page ID #:2281




    1 “[g]ive independent artists a meaningful new way to sell their creations.” [Toy Decl.
    2 Exhs. A-B] These artists use the Redbubble Marketplace platform to upload and sell
    3 their creative designs on high-quality, everyday products such as apparel, stationery,
    4 housewares, bags, and wall art. [Toy Decl. Exh. A]
    5         The Redbubble Marketplace also automatically performs various online
    6 services to facilitate transactions. In particular, the Marketplace software connects
    7 third-party artists or “Sellers” automatically to third-party manufacturers, who print
    8 and pack the products, before third-party shippers pick up the products and deliver
    9 them to customers. [See Luthra Decl. ¶¶ 2; Deshais Decl. ¶¶ 2-6] The platform also
   10 provides Sellers access to third-party payment processors who collect and process
   11 customer payments. [Luthra Decl. ¶ 3] This transaction process is entirely Seller-
   12 directed and automated by the Redbubble Marketplace software. [Luthra Decl. ¶¶ 2-
   13 3, 11-12] No Redbubble personnel designed or uploaded, manufactured, offered for
   14 sale, sold, handled, distributed, advertised, or for that matter even viewed any of the
   15 Accused Products prior to their sale. [Deshais Decl. ¶ 11] Currently, there are more
   16 than 2,160,000 third-party Sellers, who have uploaded more than 27,000,000
   17 product listings to the Redbubble Marketplace. [Rickert Decl. ¶¶ 2-3]
   18         B.    Redbubble Does Not Design or Upload Content Sold on the
   19               Marketplace
   20         Redbubble did not design or upload any of the designs for the Accused
   21 Products. Rather, all listings advertising products on the Redbubble Marketplace are
   22 designed and uploaded solely by third-party Sellers, without any participation by
   23 Redbubble. [Deshais Decl. ¶¶ 9,11] Redbubble was unaware of the content of those
   24 listings prior to their upload and had no involvement with the Sellers’ decisions to
   25 offer the Accused Products. [Id.]
   26         Before Sellers can upload and sell creative products on the Redbubble
   27 Marketplace, they must become registered users. [Luthra Decl. ¶ 4] All registered
   28 users are required to comply with the Redbubble User Agreement and published

                                                  2
Case 2:19-cv-04618-RGK-JPR Document 40 Filed 05/04/20 Page 9 of 26 Page ID #:2282




    1 policies that specify that the third-party Sellers, not Redbubble, (1) must possess the
    2 applicable rights to upload and sell their content; and (2) are responsible for such
    3 content. [Toy Decl. ¶ 5, Exh. C]
    4         Third-party Sellers uploading designs to the Redbubble Marketplace have
    5 exclusive control over the designs; must specify the physical product type(s) to
    6 which each design may be applied and set the price; and may also input a title, one
    7 or more keyword “tags,” and a description. [Luthra Decl. ¶ 6] Potential customers
    8 may search listings containing content of interest, and search results are based on
    9 these keyword tags and title, which are created solely by the uploading Seller – not
   10 Redbubble. [Luthra Decl. ¶ 7]
   11         Third-party Sellers must also check a box each time a design is uploaded to
   12 the Redbubble Marketplace verifying they “have the right to sell products
   13 containing this artwork, including (1) any featured company’s name or logo, (2) any
   14 featured person’s name or face, and (3) any featured words or images created by
   15 someone else.” [Luthra Decl. ¶ 5] Once these Sellers upload content and confirm
   16 their right to upload each design, their content is displayed automatically for sale
   17 among the tens of millions of product listings on the Marketplace, without any
   18 knowledge or involvement by Redbubble. [Luthra Decl. ¶ 8; Deshais Decl. ¶ 11]
   19         C.    Redbubble Did Not Sell or Offer to Sell the Accused Products
   20         The agreements between Redbubble and the Sellers using the Marketplace
   21 platform specify that the Seller, not Redbubble, offers and sells the products listed
   22 on the Marketplace. For example, Redbubble’s User Agreement describes how the
   23 Redbubble Marketplace enables Sellers “to publish, sell, discuss and purchase art;”
   24 it includes a section entitled “Offering your art for sale on a physical product” that
   25 describes how a Seller “may offer their art for sale on a physical product on the
   26 website by appointing Redbubble to facilitate the transaction….;” it repeatedly
   27 refers to Sellers offering their products for “sale,” not Redbubble. [Toy Decl.
   28 Exh. C] Similarly, in the Redbubble Services Agreement, Appendix A to the User

                                                  3
Case 2:19-cv-04618-RGK-JPR Document 40 Filed 05/04/20 Page 10 of 26 Page ID #:2283




     1 Agreement, Sellers acknowledge that they “wish to use Redbubble’s services to
     2 facilitate marketing and sale of [their] art on a physical product….;” they agree in a
     3 section entitled “Sale of your products” that the Seller determines the price for
     4 products; and they expressly confirm they are “the seller of the merchandise.” [Id.]
     5         The product listing pages further confirm that the products sold via the
     6 Marketplace are offered by third-party Sellers, not Redbubble. In particular, the
     7 search results pages specify that each listing is “by” the third-party Seller. [Toy
     8 Decl. ¶¶ 31, 32, Exh. H] Similarly, the listing page itself identifies the third-party
     9 Seller both below and to the right of the image, followed by a selection of additional
    10 listings by the same Seller, if available, and a link to “View [Seller’s] Shop.” [Toy
    11 Decl. ¶¶ 31, 33, Exh. I]
    12         Like Amazon and other marketplaces, the Redbubble Marketplace software
    13 facilitates payment processing for Sellers. Third-party payment processors like
    14 PayPal, Stripe, or Amazon Payments receive payment directly from customers
    15 through the Redbubble Marketplace. [Luthra Decl. ¶ 11] The marketplace software
    16 then automatically facilitates the payment of the Seller-established margin to the
    17 Seller’s account, less Redbubble’s fixed service fee, which varies by product type
    18 but is independent of the price set by the Seller. [Id.; Toy Decl. ¶¶ 28-29]
    19         Redbubble never took control of or title to the Accused Products. Rather, as
    20 specified at Section 3.5 of Redbubble’s Services Agreement, “[a]ll items purchased
    21 from the website are manufactured pursuant to arrangements with third party
    22 suppliers under [Seller’s] instructions. This means that title and risk for loss for such
    23 items pass from [Seller] to the customer/purchaser without passing through
    24 [Redbubble] . . . .” [Toy Decl. Exh. C]
    25         D.    Redbubble Does Not Print, Package, Manufacture or Ship
    26               Products
    27         Once an order is placed, the Redbubble Marketplace software automatically
    28 forwards the order information on behalf of the Seller to a third-party manufacturer

                                                   4
Case 2:19-cv-04618-RGK-JPR Document 40 Filed 05/04/20 Page 11 of 26 Page ID #:2284




     1 or printer (“Manufacturer”) based on criteria like the delivery location and product
     2 type. [Luthra Decl. ¶ 12] These Manufacturers are independent of Redbubble; they
     3 are not affiliates of Redbubble, and Redbubble neither owns the manufacturing
     4 facilities or equipment nor employs any of the personnel. [Deshais Decl. ¶¶ 4-5, 11]
     5         Upon receipt of an order, the Manufacturer imprints the design onto the
     6 product type chosen by the customer, without any input or involvement from
     7 Redbubble. [Deshais Decl. ¶ 2] Redbubble personnel do not review product artwork
     8 prior to printing, participate in the manufacturing process, pack or ship the printed
     9 products, or perform pre-shipment quality control. [Deshais Decl. ¶ 11] After a
    10 product is printed, a third-party shipper picks it up from the Manufacturer and ships
    11 the product directly to the customer. [Deshais Decl. ¶ 6] At all times between
    12 completion of manufacturing and the time the product is picked up by the shipper,
    13 the product remains with the third-party Manufacturer; Redbubble does not possess,
    14 physically handle, or even see the finished products. [Deshais Decl. ¶¶ 7, 9, 11]
    15         E.    Redbubble’s Substantial Efforts to Combat Piracy
    16         There is a risk that bad actors will abuse any marketplace by attempting to use
    17 it to sell unauthorized or counterfeit products. However, Redbubble has taken
    18 significant steps, in excess of its legal obligations, to prevent such abuses, and has
    19 devoted substantial resources toward eliminating third-party infringement on the
    20 Marketplace and improving existing anti-piracy measures. [Toy Decl. ¶¶ 8-22]
    21         As an initial matter, and as discussed in detail above, Redbubble requires
    22 Sellers to confirm that they own and/or have the right to sell the content that they
    23 upload and “will not infringe the intellectual property rights or any other rights of
    24 any person or entity…,” both at the time they sign up as users and again each time
    25 they upload listings to the Marketplace. [Toy Decl. Exh. C; Luthra Decl. ¶ 5]
    26         Redbubble aggressively enforces these commitments in accordance with a
    27 detailed IP/Publicity Rights Policy. [Toy Decl. ¶ 6, Exh. D] Under Redbubble’s
    28 Policy, which is modeled on the Digital Millennium Copyright Act (17 U.S.C.

                                                   5
Case 2:19-cv-04618-RGK-JPR Document 40 Filed 05/04/20 Page 12 of 26 Page ID #:2285




     1 § 512), if Redbubble receives notice that particular listings infringe a third-party’s
     2 intellectual property rights, Redbubble promptly (typically within one business day)
     3 removes those listings and notifies the third-party Seller who uploaded them. Per
     4 that policy, Redbubble will also “disable and/or terminate the accounts of users who
     5 repeatedly infringe or are repeatedly charged with infringing the copyrights,
     6 trademark rights, other intellectual property rights or publicity rights of others.”
     7 [Toy Decl. ¶¶ 6-7, Exh. D] In accordance with this policy, Redbubble has received
     8 over 91,500 takedown requests from content owners, and pursuant to those requests,
     9 Redbubble removed more than 755,000 listings. [Rickert Decl. ¶ 4]
    10         In addition, although it has no legal obligation to do so, Redbubble provides
    11 further assistance by proactively policing the Redbubble Marketplace for potentially
    12 infringing content. In particular, Redbubble employs a 13-person Marketplace
    13 Integrity (“MPI”) Team that proactively polices the Marketplace for potential
    14 infringement of marks belonging to Brandy Melville and over 300 other content
    15 owners, including some of the largest content owners in the world. [Toy Decl. ¶ 22]
    16 Many of these content owners have large and diverse portfolios of intellectual
    17 property rights (i.e., copyrights, trademarks and publicity rights) in properties like
    18 TV shows and individual movies, or represent large rosters of musical artists. [Id.]
    19         Using information provided by content owners, Redbubble’s MPI team uses
    20 proprietary software tools to search for potentially infringing listings based on the
    21 Seller-generated titles, tags and descriptions. 1 [Luthra Decl. ¶¶ 13-14; Toy Decl. ¶
    22 10] The MPI Team manually reviews these search results, including images of the
    23 artwork for the listing, to identify content that matches policing guidelines created
    24
    25   1
         Only if the content owner collaborates with Redbubble by providing a complete
    26 list of what it believes its protected content is –logos, trademarks, characters, etc. –
       can Redbubble most effectively search for it and remove it from the Marketplace.
    27 [Toy Decl. ¶ 11] When content owners like Brandy Melville do not cooperate with
    28 Redbubble in this process, however, Redbubble is forced to use its best judgment as
       to what terms a content owner might use to identify colorable infringement. [Id.]
                                                   6
Case 2:19-cv-04618-RGK-JPR Document 40 Filed 05/04/20 Page 13 of 26 Page ID #:2286




     1 by Redbubble, typically with the assistance of the content owner. [Luthra Decl.
     2 ¶¶ 13-14; Toy Decl. ¶ 12-18] The MPI Team then promptly removes or prevents any
     3 listing containing such content from appearing on the site proactively and without
     4 receiving a specific takedown notice from the rightsholder. [Id.] The third-party
     5 Seller is automatically notified upon removal and is otherwise treated in accordance
     6 with the IP/Publicity Rights Policy. [Toy Decl. ¶ 15]
     7         Redbubble also uses a combination of proprietary and third-party software to
     8 identify scaled and/or repeated abusers of the Redbubble user agreement. [Toy Decl.
     9 ¶ 19-20] These tools look for Seller behavior or characteristics that may indicate that
    10 a Seller is a scaled abuser or repeat infringer, and when it finds a high-risk account,
    11 it may automatically disable the account and remove it from the Marketplace or put
    12 it on a watch list to by monitored by the MPI Team. [Id. ¶ 21]
    13         Redbubble’s MPI team currently proactively policies for approximately 2,300
    14 individual properties for these content owners, and on any given day, the MPI Team
    15 will typically review and compare over 6,000 individual designs to its policing
    16 guidelines. [Toy Decl. ¶ 22; Rickert Decl. ¶ 6]
    17         To date, the proactive policing efforts of the MPI Team have resulted in the
    18 disabling or removal of approximately 3,700,000 listings from the Redbubble
    19 Marketplace. [Rickert Decl. ¶ 9] And Redbubble has disabled and/or terminated
    20 almost 670,000 Seller accounts for violation of Redbubble policies, including its
    21 IP/Publicity Rights Policy. [Id. ¶ 10] Redbubble has disabled or removed
    22 approximately 400 listings under its proactive removal guidelines for Brandy
    23 Melville, covering around 7,200 products. [Rickert Decl. ¶ 8]
    24         F.    Background of This Dispute
    25         Brandy Melville asserts three recently federally-registered design marks in
    26 this case. [See Masur Decl. Exh. A (Response to Interrogatory No. 1)]
    27         The “Brandy Heart” mark, registered on
    28 July 11, 2017 for a variety of products, including

                                                   7
Case 2:19-cv-04618-RGK-JPR Document 40 Filed 05/04/20 Page 14 of 26 Page ID #:2287




     1 stickers and apparel, “consists of the wording ‘BRANDY MELVILLE’ in black
     2 with a pink heart between BRANDY and MELVILLE.” [Masur Decl. Exh. B] “The
     3 color(s) black and pink is/are claimed as a feature of the mark.” [Id.] However,
     4 Brandy Melville does not use this mark on stickers. [Id., Exh. F at 109:22-110:8;
     5 119:21-22; 127:1-11]
     6         The “Brandy Flags” mark, registered on
     7 January 9, 2018, “consists of ‘BRANDY MELVILLE’
     8 with a pair of crisscrossed flags between the ‘Y’ and ‘M.’” [Masur Decl. Exh. C]
     9         The “LosAngeles Lightning” mark, registered on May 14, 2019 – two weeks
    10 before this suit was filed – “consists of [t]he word
    11 ‘LOSANGELES’ as one word without a space. The
    12 first letter of the word is stylized to resemble a
    13 lightning bolt. Below ‘LOSANGELES’ is the word ‘CALIFORNIA’ and the
    14 number ‘1984’. All of the words are in yellow. No claim is made to the exclusive
    15 right to use the following apart from the mark as shown: LOS ANGELES
    16 CALIFORNIA 1984.” [Masur Decl. Exh. D] This registration only covers “clothing,
    17 namely, T-shirts, tank tops and sweatshirts.” [Id.]
    18         Brandy Melville also claims common law trademark rights for its Brandy
    19 Melville name and graphic logo and “variations thereof (e.g., Brandy LA,
    20 www.brandymelvilleusa.com, etc.),” as well as variations of the LA Lightning logo
    21 “(e.g., different colors)” although Brandy Melville has not provide any further
    22 information on specifically what those “variations” might be. [Masur Decl. Exh. A]
    23         On May 14, 2018, Redbubble received correspondence complaining that the
    24 phrase “Brandy Melville” was being used as a tag, and identifying a handful of
    25 specific potentially infringing listings. [Toy Decl. ¶ 23, Exh. E] By the next day,
    26 Redbubble had removed these listings, and advised Brandy Melville that “if there
    27 are any additional specific designs hosted on the marketplace that you would like
    28 removed, please identify those for us, and we will ensure that they are promptly

                                                    8
Case 2:19-cv-04618-RGK-JPR Document 40 Filed 05/04/20 Page 15 of 26 Page ID #:2288




     1 removed in a manner consistent with Redbubble’s IP and publicity rights policy.”
     2 [Toy Decl. ¶ 24, Exh. F] Brandy Melville did not identify additional designs, and
     3 after May 15, 2018, Redbubble did not hear again from Brandy Melville for over a
     4 year, when it learned that Brandy Melville had filed this lawsuit. [Toy Decl. ¶ 24]
     5         Each time that Brandy Melville identified specific listings that it alleged were
     6 infringing its marks (including in the Complaint), Redbubble promptly removed the
     7 designs identified by Brandy Melville. [Toy Decl. ¶ 25] Upon receiving notice of
     8 the Complaint, Redbubble also began proactively policing for the intellectual
     9 property that Brandy Melville had identified and continues to do so, although
    10 Brandy Melville has not cooperated in these efforts to date, rendering Redbubble’s
    11 policing efforts more difficult. [Toy Decl. ¶ 26] Since these efforts began, there have
    12 been no sales through the Marketplace of products bearing the images depicted in
    13 Brandy Melville’s registrations. [See Rickert Decl. Exh. B]
    14         In fact, no product bearing the Brandy Flags mark has ever been sold through
    15 the Redbubble Marketplace. [Rickert Decl. Exhs. A-B; Toy Decl. ¶ 35] Nor has
    16 there been a sale of any product displaying the LosAngeles Lightning mark on
    17 clothing, the only goods that mark was registered for. [Id.] And while just over
    18 $5,000 of products featuring the Brandy Hearts mark have been sold through the
    19 Marketplace, those sales were either stickers (on which Brandy Melville doesn’t
    20 actually use the mark) or products that are not covered by that trademark
    21 registration. [Id.]
    22 III.    ARGUMENT
    23         A.    Redbubble Has No Liability to Brandy Melville
    24         Redbubble has not itself made any “use,” let alone a potentially infringing
    25 trademark use, of the marks at issue as required for Brandy Melville to prevail on its
    26 direct liability claims. Whenever Brandy Melville notified Redbubble of specific
    27 alleged infringements, Redbubble promptly removed those alleged infringements,
    28 thus negating Brandy Melville’s contributory infringement claim. And Redbubble

                                                   9
Case 2:19-cv-04618-RGK-JPR Document 40 Filed 05/04/20 Page 16 of 26 Page ID #:2289




     1 lacks the type of relationship with or control over third-party Sellers that sell
     2 products through the Redbubble Marketplace and/or third-party fulfillers that
     3 manufacture such products to subject Redbubble to vicarious liability for trademark
     4 infringement. There is no dispute as to any of these core facts, all of which are part
     5 of Brandy Melville’s prima facie case. These undisputed facts compel entry of
     6 summary judgment in Redbubble’s favor on Brandy Melville’s Complaint.
     7               1.     Direct Trademark Infringement
     8         To prevail on its First Claim for Direct Trademark Infringement, Brandy
     9 Melville must show that Redbubble made an affirmative “use in commerce” of a
    10 mark “in connection with the sale, offering for sale, distribution or advertising of
    11 goods.2 15 U.S.C. § 1114(1). This “use” requirement covers those who themselves
    12 place an infringing mark on products, via manufacture or otherwise; who offer to
    13 sell or sell products bearing infringing marks; or who apply infringing marks to
    14 sales displays or related advertising materials. See, e.g., 15 U.S.C. § 1127 (defining
    15 an infringing “use in commerce” as occurring when a mark “is placed in any manner
    16 on the goods or their containers or the displays associated therewith or on the tags or
    17 labels affixed thereto”); Fonovisa, Inc. v. Cherry Auction, Inc., 76 F.3d 259, 264
    18 (9th Cir. 1996); Lorillard Tobacco Co. v. Amouri’s Grand Foods, Inc., 453 F.3d
    19 377, 381 (6th Cir. 2006). On the other hand, while those who merely facilitate or
    20 enable “use” of infringing marks may be secondarily liable for contributory or
    21 vicarious infringement, they cannot directly infringe because they do not themselves
    22 “use” the marks. See Tiffany Inc. v. eBay, Inc., 600 F.3d 93, 103 (2nd Cir. 2010).
    23
    24
         2
         Brandy Melville’s Second and Third Claims for false designation of origin and
    25 common law unfair competition claims incorporate the allegations of and are
    26 essentially the same as its direct trademark infringement claim. See Brookfield
       Comms., Inc., v. West Coast Enter. Corp., 174 F.3d 1036, 1046–47 n.8 (9th Cir.
    27 1999). Accordingly, and for the same reason Redbubble is entitled to judgment in its
    28 favor on the direct trademark infringement claim, summary judgment is also
       warranted on these derivative claims.
                                                   10
Case 2:19-cv-04618-RGK-JPR Document 40 Filed 05/04/20 Page 17 of 26 Page ID #:2290




     1        Although this Circuit has not expressly specified the types of conduct that
     2 might qualify as “uses” for purposes of direct trademark infringement, its copyright
     3 infringement opinions provide useful guidance. For example, Perfect 10, Inc. v.
     4 Giganews, Inc., 847 F. 3d 657, 666 (9th Cir. 2017), reaffirmed that direct copyright
     5 infringement “requires the plaintiff to show causation (also referred to as ‘volitional
     6 conduct’) by the defendant,” noting that the volitional conduct requirement “stands
     7 for the unremarkable proposition that proximate causation historically underlines
     8 copyright infringement liability no less than other torts.” And to demonstrate
     9 volitional conduct, a copyright plaintiff “must provide some ‘evidence showing [the
    10 alleged infringer] exercised control (other than by general operation of [its
    11 website]); selected any material for upload, download, transmission, or storage; or
    12 instigated any copying, storage, or distribution.” VHT, Inc. v. Zillow Group, Inc.,
    13 918 F.3d 723, 732 (9th Cir. 2019) (citing Giganews, 847 F.3d at 666, 670).
    14        This requirement should apply with equal force to a trademark infringement
    15 claim. Like copyright infringement, trademark infringement is a tort, and therefore
    16 should also be subject to a “volitional conduct” requirement under the rationale of
    17 Giganews. See Fonovisa, 76 F.3d at 265 (trademark infringement is a tort). And the
    18 types of volitional conduct identified in VHT are wholly consistent with the types of
    19 conduct that courts have traditionally required for a showing of direct trademark
    20 infringement: namely, making or placing a mark on infringing products, or directly
    21 advertising, offering or selling those products.
    22        Applying these principles here, there is no dispute that Redbubble did not
    23 itself use Brandy Melville’s trademarks. Redbubble did not make the Accused
    24 Products; that was done exclusively by third-party manufacturers. [Deshais Decl.
    25 ¶¶ 2-11] Redbubble did not offer or sell the Accused Products; that was done
    26 exclusively by the third-party Sellers who uploaded and listed the products and
    27 transferred title to the purchasers. [Luthra Decl. ¶¶ 4-8; Toy Decl. ¶ 5, Exh. C]
    28 Redbubble did not place the mark on “advertisements” for the Accused Products;

                                                  11
Case 2:19-cv-04618-RGK-JPR Document 40 Filed 05/04/20 Page 18 of 26 Page ID #:2291




     1 that was done by the third-party Sellers who created the web page listings. 3 [See
     2 Luthra Decl. ¶¶ 4-8] And Brandy Melville has not identified any other manner in
     3 which Redbubble might use the Brandy Melville marks.
     4         Indeed, Redbubble recently prevailed on summary judgment on a virtually
     5 identical direct infringement claim. In Ohio State v. Redbubble, 369 F. Supp. 3d
     6 840, the court held as a matter of law that Redbubble is not the seller of products
     7 offered through the Marketplace and does not otherwise engage in conduct that
     8 could subject it to liability for direct trademark infringement. The court noted that
     9 unlike print-on-demand companies like CafePress and SunFrog, which have been
    10 held liable for direct infringement because they print and sell the products offered
    11 via their website, “Redbubble essentially offers to ‘independent artists’ an online
    12 platform through which to sell their goods…. Redbubble is not directly producing
    13 the goods….” Id. at 846. Instead, the district court analogized Redbubble’s business
    14 model to that of the Amazon Marketplace, which the court observed “has generally
    15 not been found directly liable for direct trademark or copyright infringement
    16 because it merely facilitates sales between other parties.” Id. at 844.
    17         This ruling is consistent with other cases assessing liability for online
    18 marketplaces or transactional intermediaries like Redbubble, which have uniformly
    19 held that such entities are immune from direct infringement liability because they do
    20 not “use” the marks in question. See, e.g., Tiffany, supra, 600 F. 3d at 103 (no direct
    21 trademark infringement where defendant never took possession of items sold
    22 through its marketplace and did not directly sell allegedly infringing products to
    23 customers); Milo & Gabby, LLC v. Amazon.com, Inc., 2015 WL 4394673 (W.D.
    24 Wash. July 16, 2015) aff’d 693 F. App’x 879 (Fed. Cir. 2017) (defendant was not
    25 liable for direct trademark infringement based on sale of products listed by third
    26
         3
         Redbubble does facilitate advertising on behalf of artists by connecting the
    27 Redbubble platform to third party ad platforms (like Google and FB) through
    28 APIs/product feeds, but does not itself select or use the content displayed in those
       third-party advertisements. [Toy Decl. ¶ 34]
                                                   12
Case 2:19-cv-04618-RGK-JPR Document 40 Filed 05/04/20 Page 19 of 26 Page ID #:2292




     1 parties on its site); Tre Milano, LLC v. Amazon.com, Inc., No. B234753, 2012 WL
     2 3594380 (Cal. App. 2012) (citations omitted) (“it is clear that ‘a transactional
     3 intermediary is not treated as a seller,’ that is, ‘parties [who] act as intermediaries
     4 for a transaction and do not buy and resell the commodities’ are not direct sellers
     5 and are not directly liable for infringement under the [Lanham Act].”); GMA
     6 Accessories, Inc. v. BOP, LLC, 765 F. Supp. 2d 457 (S.D.N.Y. 2011) (if the
     7 definition of a “seller” in the trademark context is not clear, “in other contexts a
     8 transactional intermediary is not treated as a seller,” and “[w]hen parties act as
     9 intermediaries for a transaction…, no sale between them has occurred”).
    10         Thus, as the district court specifically held in the Ohio State v. Redbubble
    11 case, and as the eBay and Amazon cases confirm, Redbubble did not sell or
    12 otherwise “use” the Brandy Melville trademarks at issue in this case, and therefore
    13 cannot be liable for direct infringement as a matter of law.
    14               2.     Contributory Trademark Infringement
    15         To prevail on its Fourth Claim, for Contributory Trademark Infringement,
    16 Brandy Melville must prove that Redbubble provided products or services “to one
    17 whom it knows or has reason to know is engaging in trademark infringement.”
    18 Inwood Laboratories, Inc. v. Ives Laboratories, Inc., 456 U.S. 844, 854 (1982).
    19 Because Redbubble provides services to the alleged direct infringers, Brandy
    20 Melville must also show that Redbubble had “direct control and monitoring of the
    21 instrumentality used by a third party to infringe . . . .” Lockheed Martin Corp. v.
    22 Network Solutions, Inc., 194 F.3d 980, 984 (9th Cir. 1999).
    23         In the specific context of online marketplaces, courts have held that “[s]ome
    24 contemporary knowledge of which particular listings are infringing or will infringe
    25 in the future is necessary.” Tiffany Inc. v. eBay, Inc., 600 F.3d 93, 108-09 (2nd Cir.
    26 2010). The mere assertion of infringement in a notice letter “is not sufficient to
    27 impute knowledge of infringement to [a defendant],” and “use of an identical or
    28

                                                   13
Case 2:19-cv-04618-RGK-JPR Document 40 Filed 05/04/20 Page 20 of 26 Page ID #:2293




     1 similar mark does not necessarily constitute infringement.” Lockheed Martin
     2 Corp. v. Networks Solutions, Inc., 985 F. Supp. 949, 963 (C.D. Cal 1997).
     3         The Second Circuit’s opinion in Tiffany v. eBay is particularly instructive, and
     4 its rationale has been consistently followed by courts in this Circuit. See, e.g, Spy
     5 Phone Labs LLC v. Google Inc., 2016 WL 6025469 (N.D. Cal. 2016) (applying
     6 Tiffany analysis); Academy of Motion Picture Arts & Sciences v. GoDaddy, Inc.,
     7 2015 WL 5311085 (C.D. Cal. 2015) (offering several page analysis and application
     8 of the Tiffany opinion). In Tiffany, defendant eBay, like Redbubble, had a policy of
     9 removing allegedly infringing product listings upon receipt of a takedown notice,
    10 and had adopted extensive proactive policing measures designed to minimize
    11 infringement on its marketplace. Plaintiff Tiffany argued that eBay was nonetheless
    12 liable for contributory infringement because Tiffany had sent thousands of notices
    13 of claimed infringement, yet infringing listings continued to appear for sale on the
    14 marketplace. The district court rejected this argument, reasoning that eBay had only
    15 generalized knowledge of infringement, and that to prevail, plaintiff would have to
    16 show that eBay “knew or had reason to know of specific instances of actual
    17 infringement beyond those that it addressed upon learning of them.” 600 F.3d at
    18 107. The Court of Appeals affirmed, holding that “[f]or contributory trademark
    19 infringement liability to lie, a service provider must have more than a general
    20 knowledge or reason to know that its service is being used to sell counterfeit goods.
    21 Some contemporary knowledge of which particular listings are infringing or will
    22 infringe in the future is necessary.” Id. at 107.
    23         The undisputed evidence shows that Redbubble always removed allegedly
    24 infringing listings promptly upon receiving notice of claimed infringement from
    25 Brandy Melville. [Toy Decl., ¶ 25; Rickert Decl., Exh. A] Redbubble also
    26 implemented proactive procedures to prevent allegedly infringing content from
    27 being sold. [Toy Decl., ¶¶ 9-22; Rickert Decl., ¶¶ 8-10] And Redbubble applied its
    28 repeat infringer policy to third-party sellers who listed the content in question. [Toy

                                                   14
Case 2:19-cv-04618-RGK-JPR Document 40 Filed 05/04/20 Page 21 of 26 Page ID #:2294




     1 Decl., ¶¶ 7, 19; Rickert Decl., ¶ 7] Redbubble therefore cannot be liable for
     2 contributory trademark infringement.
     3               3.     Vicarious Trademark Infringement Claims
     4         To prevail on its Fifth Claim, for Vicarious Trademark Infringement, Brandy
     5 Melville must establish “that the defendant and the infringer have an apparent or
     6 actual partnership, have authority to bind one another in transactions with third
     7 parties or exercise joint ownership or control over the infringing product.” Perfect
     8 10, Inc. v. VISA International Service Ass’n, 494 F.3d 788, 807-08 (9th Cir. 2007)
     9 (citations omitted). “Courts have strictly applied the test for vicarious trademark
    10 liability based on agency principles, and, unlike vicarious copyright liability, courts
    11 do not recognize vicarious liability in the trademark context based on ability to
    12 supervise in combination with a financial interest. Clearline Technologies Ltd. v.
    13 Cooper B-Line, Inc., 871 F. Supp. 2d 607, 613-14 (S.D. Tex. 2012).
    14         Under this standard, Redbubble cannot be liable for vicarious infringement.
    15 There is no evidence that Redbubble is a partner with the third-party manufacturers;
    16 there is certainly no legally registered partnership, and the manufacturers all operate
    17 independently, and can and do decide independently whether to fulfill orders routed
    18 through the Redbubble Marketplace. [Deshais Decl. ¶¶ 4, 11; Toy Decl. ¶ 30]
    19 Redbubble does not have the authority to bind manufacturers in transactions with
    20 third-parties, or vice versa. [Toy Decl. ¶ 30] And Redbubble cannot be deemed to
    21 have the type of authority or joint control over any allegedly infringing products that
    22 is required for a finding of vicarious liability. See Rosetta Stone Ltd. v. Google, Inc.,
    23 730 F.Supp.2d 531, 550 (E.D. Va. 2010) (rejecting vicarious liability claim against
    24 Google for the use of plaintiff’s marks in Sponsored Link titles because plaintiff
    25 failed to prove Google “controls the appearance and content” of the infringing
    26 products or the use of the marks in those products). Thus, Brandy Melville cannot
    27 meet its burden on this issue.
    28

                                                   15
Case 2:19-cv-04618-RGK-JPR Document 40 Filed 05/04/20 Page 22 of 26 Page ID #:2295




     1               4.     Common Law Unfair Competition
     2         Brandy Melville’s unfair competition claim is barred both as a derivative
     3 claim of the direct infringement claim, see footnote 2 above, and by the immunity
     4 provision of the Communications Decency Act (“CDA”), 47 U.S.C. § 230(c)(1),
     5 which “states that ‘no provider or user of an interactive computer service shall be
     6 treated as the publisher or speaker of any information provided by another
     7 information content provider,’ and expressly preempts any state law to the
     8 contrary.” Perfect 10, Inc. v. CCBill LLC, 488 F.3d 1102, 1118 (9th Cir. 2007). The
     9 CDA provides “broad ‘federal immunity to any cause of action that would make
    10 service providers liable for information originating with a third-party user of the
    11 service’” – including, in particular, state unfair competition claims. Id. (citations
    12 omitted) (affirming summary judgment on unfair competition claim based on CDA).
    13         Redbubble is unquestionably an “interactive computer service,” and to the
    14 extent Brandy Melville’s trademarks appear on the Marketplace, those marks are
    15 “provided by another information content provider” – namely, the third-party
    16 Sellers. See Corbis Corp. v. Amazon.com, Inc., 351 F. Supp. 2d 1090 (W.D. Wash.
    17 2004) (granting summary judgment to Amazon based on CDA where third-party
    18 vendors provided the images on which the claim was based). Accordingly, the CDA
    19 requires that Brandy Melville’s Third Claim for Unfair Competition be dismissed.
    20         B.    Because Brandy Melville Cannot Establish that Redbubble Used a
    21               Counterfeit Mark, It Cannot Recover the Enhanced Statutory
    22               Remedies for Trademark Counterfeiting
    23         Brandy Melville cannot establish the elements of trademark counterfeiting,
    24 which is its sole basis for claiming enhanced or statutory damages. 4 A “counterfeit
    25
    26   4
        Moreover, Brandy Melville has no admissible evidence of actual damages. Rule
    27 26(a)(1)(A)(iii) required that Plaintiff disclose “a computation of each category of
       damages [and produce] the evidentiary material … on which each computation is
    28 based.” But Plaintiff merely provided a laundry list of damages categories available

                                                  16
Case 2:19-cv-04618-RGK-JPR Document 40 Filed 05/04/20 Page 23 of 26 Page ID #:2296




     1 is something that purports to be something that it is not.” United Pac. Ins. Co. v.
     2 Idaho First Nat. Bank, 378 F.2d 62, 69 (9th Cir. 1967) (citations omitted). Thus, to
     3 prevail on a counterfeiting claim, a plaintiff must prove that “(1) [defendant]
     4 intentionally used a counterfeit mark in commerce; (2) knowing the mark was
     5 counterfeit; (3) in connection with the sale, offering for sale, or distribution of
     6 goods; and (4) its use was likely to confuse or deceive.” Idaho Potato Comm’n v.
     7 G&T Terminal Pack, Inc., 425 F.3d 708, 721 (9th Cir. 2005); Gucci Am., Inc. v.
     8 Guess?, Inc., 868 F. Supp. 2d 207, 242 (S.D.N.Y. 2012) (“As Professor McCarthy
     9 notes, counterfeiting is the ‘hard core’ or ‘first degree’ of trademark infringement
    10 that seeks to trick the consumer into believing he or she is getting the genuine
    11 article, rather than a ‘colorable imitation’”).
    12         As an initial matter, to establish trademark counterfeiting, Brandy Melville
    13 would have to first establish all of the elements of one of its trademark infringement
    14 claims. See Ketab Corp. v. Mesriani Law Group, 2015 WL 2084469, at *3 n. 6
    15 (C.D. Cal. May 5, 2015) (“a claim for ‘counterfeiting’ under the Lanham Act must,
    16 by necessity, first establish a claim of trademark infringement”). As discussed
    17 elsewhere in this brief, Brandy Melville cannot make such a showing.
    18         In addition, counterfeiting requires a showing that defendant used an
    19 “identical or substantially indistinguishable” copy of a mark that is “registered on
    20 the principal register … for such goods or services sold, offered for sale, or
    21 distributed and that is in use.” 15 U.S.C. § 1116(d)(1)(B)(i); see also Kaloud, Inc. v.
    22 Shisha Land Wholesale, Inc., No. 15-3706-RGK, 2016 WL 7444600, at *2 (C.D.
    23 Cal. July 11, 2016), aff’d, 741 F. App’x 393 (9th Cir. 2018) (reversing statutory
    24 damages verdict for counterfeiting because “Defendant did not apply the … Marks
    25 to the same [type of] product for which those marks were registered”). A counterfeit
    26
       for trademark infringement, followed by an averment that “Plaintiff is unable to
    27 compute the foregoing categories of damages at this time,” claiming that it lacked
    28 relevant documents and pointing to a possible expert report that it never served.
       Redbubble intends to move the Court in limine accordingly.
                                                   17
Case 2:19-cv-04618-RGK-JPR Document 40 Filed 05/04/20 Page 24 of 26 Page ID #:2297




     1 product must be a “stitch for stitch copy” of plaintiff’s own products when viewed
     2 in the marketplace (considering such factors as surrounding packaging and any
     3 house labels), such that a consumer “would be tricked into believing that the
     4 [Accused P]roduct is actually one of Plaintiff's [] products” See Arcona, Inc. v.
     5 Farmacy Beauty, LLC, No. 2:17-cv-07058-ODW, 2019 WL 1260625, at *2-3 (C.D.
     6 Cal., Mar. 19, 2019) (granting summary judgment of no counterfeiting).
     7         Here, Brandy Melville has asserted three registered marks. There is no dispute
     8 that no products were ever sold through the Redbubble Marketplace that depicted
     9 the Brandy Flag logo. [Rickert Decl., Exh. B] Similarly, no clothing was sold with
    10 the design from the LosAngeles Lightning registration, although clothing is the only
    11 product class covered by the registration. [Id.] And the third mark, the Brandy Heart
    12 logo, is not used by Brandy Melville on stickers. [Masur Decl., Ex. F (Elkins Depo.
    13 Tr.) at 109:22-110:8] Other than products that fall outside the scope of plaintiff’s
    14 registration – iPhone cases, mugs, tapestries, throw pillows and tote bags – the only
    15 products sold through the Marketplace with designs similar to the Brandy Heart logo
    16 were stickers. [Rickert Decl., Exh. B] Because those products are not identified in
    17 Brandy Melville’s registration, they cannot be counterfeits as a matter of law.
    18         Finally, Brandy Melville cannot demonstrate that Redbubble “intentionally
    19 used a counterfeit mark in commerce knowing the mark was counterfeit.” State of
    20 Idaho, supra; see also 4 J. Thomas McCarthy, McCarthy on Trademarks & Unfair
    21 Competition § 25:15.10 (5th ed. 2019) (counterfeiting is “the act of producing or
    22 selling a product with a sham trademark that is an intentional and calculated
    23 reproduction of the genuine trademark”). To the contrary, there is no genuine
    24 dispute that Redbubble is unaware of specific designs uploaded and listed for sale
    25 by third-party Sellers on the Marketplace, including specifically the designs for the
    26 Accused Products, absent notification from rightsholders. [See Deshais Decl. ¶ 11]
    27 Redbubble didn’t make the Accused Products, or even see those products at any
    28 point during the manufacturing, sale and shipping process. [Deshais Decl. ¶ 11]

                                                  18
Case 2:19-cv-04618-RGK-JPR Document 40 Filed 05/04/20 Page 25 of 26 Page ID #:2298




     1 Whenever Brandy Melville notified Redbubble that specific listings infringed
     2 Brandy Melville’s rights, Redbubble promptly removed them. [Toy Decl. ¶ 29] And
     3 Redbubble went beyond its legal obligations by implementing numerous proactive
     4 measures to prevent listings that Brandy Melville might consider infringing from
     5 being offered for sale on the Redbubble Marketplace, despite Brandy Melville’s
     6 unwillingness to cooperate with that process. [Toy Decl. ¶¶ 8-23]
     7         Indeed, courts have consistently held that infringement is not knowing or
     8 willful where, as here, the defendant reasonably believes that its usage of a
     9 trademark is not barred by law. VHT, Inc. v. Zillow Group, Inc., 918 F.3d 723 (9th
    10 Cir. 2019); Int'l Olympic Comm. v. San Francisco Arts & Athletics, 781 F.2d 733,
    11 738-39 (9th Cir. 1986). In VHT, for example, Zillow’s user agreement required that
    12 brokers, agents, and listing services who uploaded photos and real property listings
    13 to its marketplace “represent that they ‘have all necessary rights and authority to
    14 enter into’ the agreements,” and that the uploaded content “will not violate the
    15 intellectual property rights, or any other rights of any third party.” Id. at 732
    16 (internal quotations omitted). There, as here, there was no “evidence showing
    17 Zillow exercised control (other than by general operation of its website); selected
    18 any material for upload, download, transmission, or storage; or instigated any
    19 copying, storage, or distribution of these photos.” Id. at 734. In light of its users’
    20 representations, Zillow was not “‘actually aware’ of its [users’] infringing activity”
    21 notwithstanding having received blanket notice of infringement from VHT;
    22 accordingly, the Ninth Circuit reversed the jury’s willfulness verdict. Id. at 748-49
    23 (quoting Evergreen Safety Council v. RSA Network, Inc., 697 F.3d 1221, 1228 (9th
    24 Cir. 2012) (“Continued use of a work even after one has been notified of his or her
    25 alleged infringement does not constitute willfulness so long as one believes
    26 reasonably, and in good faith, that he or she is not infringing.”)
    27         Like the defendants in Zillow, Redbubble was entitled to and did in fact
    28 reasonably rely on representations made by its users that they had the right to use

                                                   19
Case 2:19-cv-04618-RGK-JPR Document 40 Filed 05/04/20 Page 26 of 26 Page ID #:2299




     1 the designs they uploaded to the site. And like those defendants, there is no evidence
     2 that Redbubble was “actually aware” of specific, ongoing infringing activity; when
     3 Redbubble learned of such activity, it has swiftly put an end to it. Using the
     4 language from Evergreen, Redbubble “believes reasonably, and in good faith, that
     5 [it] is not infringing.” Indeed, Redbubble has prevailed in both U.S. cases against it
     6 that have gone to judgment. See Ohio State, 369 F. Supp. 3d 840; LTTB, LLC v.
     7 Redbubble Inc., 385 F. Supp. 3d 916 (N.D. Cal. 2019) (granting summary judgment
     8 to Redbubble on Lanham Act claims). Redbubble is thus entitled to a determination
     9 of no willfulness or counterfeiting (and a concomitant ruling that Redbubble cannot
    10 be liable for regular or enhanced statutory damages) as a matter of law.5
    11 IV.     CONCLUSION
    12         The legal issues in this lawsuit go far beyond the instant trademark dispute
    13 between Brandy Melville and Redbubble. Indeed, the resolution of this motion
    14 could impact the very viability of online marketplaces like the Amazon
    15 Marketplace, Craigslist, and eBay. The case law involving Internet marketplaces in
    16 general, and Redbubble in particular, overwhelmingly supports granting
    17 Redbubble’s Motion for Summary Judgment. The Court should thus enter judgment
    18 in favor of Redbubble on Brandy Melville’s Complaint and of each claim therein.
    19
         Dated: May 4, 2020                    COASTSIDE LEGAL
    20                                         KENNETH B. WILSON
    21                                         ZUBER LAWLER & DEL DUCA LLP
                                               JOSHUA M. MASUR
    22                                         ZACHARY S. DAVIDSON
    23
    24                                         By: /s/ Joshua M. Masur

    25                                              Attorneys for Defendant
    26                                              REDBUBBLE INC.

    27
         5
    28    At the very least, this evidence establishes that Brandy Melville is not entitled to
         enhanced statutory damages for willful counterfeiting under 15 U.S.C. § 1117(c)(2).
                                                  20
